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                             UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MONTANA


 In re:
                                                         Case No. 17-60271
 Roman Catholic Bishop of Great Falls Montana,
 a Montana Religious Corporate Sole                      Chapter 11
 (Diocese of Great Falls),

                   Debtor-in-Possession

                    ORDER AUTHORIZING SALE OF REAL PROPERTY
                  (VILLA APARTMENTS) PURSUANT TO 11 U.S.C. § 363(B)

          In this Chapter 11 case, the Debtor in Possession filed on June 22, 2018, a Motion for

Authorization to Enter into Lease Option to Sell Real Property (Villa Apartments), and served a

Notice on all interested parties, [Docket # 392], which proposed to lease, with an option to sell the

following described property located in Cascade County, Montana:

PARCEL I:

          A tract of land in Section 7, Township 20 North, Range 4 East, P.M.M., Cascade
          County, Montana, said tract of land being particularly described as follows:

          Beginning at a point which lies 40 feet East and 40 feet South of the concrete
          monument which lies at the intersection of the center line of Ninth Avenue South
          and Eighteenth Street South of the Tenth Addition to Great Falls, Cascade County,
          Montana;
          thence South 89E56' East, 350.23 feet along the South line of Ninth Avenue South
          to the West line of Nineteenth Street South;
          thence South 160.43 feet to a point;
          thence North 89E56' West, 350.23 feet to the East line of Eighteenth Street South;
          thence North 160.43 feet along the East line of Eighteenth Street South to the point
          of beginning.

PARCEL II:

          A tract of land in the SE1/4SW1/4 of Section 7, Township 20 North, Range 4 East,
          P.M.M., Cascade County, Montana, particularly described as follows:

          Beginning at a point which lies 200.43 feet South and 40 feet East of the concrete
          monument, which lies at the intersection of the center line of Ninth Avenue South
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       and Eighteenth Street South of the Tenth Addition to Great Falls, Cascade County,
       Montana;
       thence South 89E56' East, 350.23 feet to a point on the West line of Nineteenth
       Street South extended; thence South along the extended West line of Nineteenth
       Street South 142.17 feet to its intersection with the South line of Section 7;
       thence North 89E47' West along the South line of Section 7, 350.23 feet to its
       intersection with the East line of Eighteenth Street South;
       thence North 143.97 feet along the East line of Eighteenth Street South to the point
       of beginning.


       Pursuant to the Debtor-in-Possession’s Motion, and Bankruptcy Rule 6004(b), Objections

to the proposed lease with sale option were required to be filed with the Court and served on the

Debtor-in-Possession within fourteen (14) days of service of the Motion. No objections having been

filed. After review by the Court, for good cause appearing,

       IT IS HEREBY ORDERED the Debtor’s Motion is APPROVED and the

Debtor-in-Possession is hereby authorized to lease and enter into an option agreement to sell the real

property to Langstan Management LLC, pursuant to the terms and conditions set forth in the

Motion/Notice.

       IT IS FURTHER HEREBY ORDERED that, if the sale closes and after payment of costs

of title insurance and closing costs, all net sale proceeds shall be paid to the Diocese and deposited

in the debtor-in-possession general operating accounts, and that said sale proceeds shall not be

withdrawn from that account without further order of the Court.

Dated: July 9, 2018




Honorable Jim D. Pappas
United States Bankruptcy Judge
